             Case 2:17-cr-00127-JLR          Document 18       Filed 05/04/17      Page 1 of 2




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 5
                                UNITED STATES DISTRICT COURT
 6                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 7

 8   UNITED STATES OF AMERICA,

 9                              Plaintiff,                 CASE NO. 17-127-JLR

10           v.                                            DETENTION ORDER

11   JERMAINE LEE PIPER,

12                              Defendant.

13          The Court has conducted a detention hearing under 18 U.S.C. § 3142(f), and concludes

14   there are no conditions which the defendant can meet which would reasonably assure the

15   defendant’s appearance as required or the safety of any other person and the community.

16         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

17          Defendant is charged with being a felon in possession of a firearm. The court received

18   information indicating the alleged possession is not an isolated event. The guns in defendant’s

19   possession were obtained over several months in 2016 and 2017. Additionally, police

20   investigation indicates defendant possessed an assault type rifle in October 2016, in another

21   incident. The facts of the current case also indicate defendant poses a danger in that one of the

22   guns defendant possessed was discharged in an apartment complex, and a round went through a

23   neighbors wall.

            It is therefore ORDERED:


     DETENTION ORDER - 1
             Case 2:17-cr-00127-JLR          Document 18       Filed 05/04/17      Page 2 of 2




 1          (1)     Defendant shall be detained pending trial and committed to the custody of the

 2   Attorney General for confinement in a correctional facility separate, to the extent practicable,

 3   from persons awaiting or serving sentences, or being held in custody pending appeal;

 4          (2)     Defendant shall be afforded reasonable opportunity for private consultation with

 5   counsel;

 6          (3)     On order of a court of the United States or on request of an attorney for the

 7   Government, the person in charge of the correctional facility in which Defendant is confined

 8   shall deliver the defendant to a United States Marshal for the purpose of an appearance in

 9   connection with a court proceeding; and

10          (4)     The Clerk shall provide copies of this order to all counsel, the United States

11   Marshal, and to the United States Probation and Pretrial Services Officer.

12          DATED this 4th day of May, 2017.

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14                                                                A
                                                           BRIAN A. TSUCHIDA
15                                                         United States Magistrate Judge

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     DETENTION ORDER - 2
